                                                                    Electronically Filed
                                                                    3/8/2022 3:59 PM
                                                                    Third Judicial District, Canyon County
                                                                    Chris Yamamoto,Clerk of the Court
                                                                    By: Stephanie Fernicola, Deputy Clerk




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Attorneys for Plaintiff, Cindy Beyersdorf

          IN THE DISTRICT OF THE THIRD JUDICIAL DISTRICT OF

       THE STATE OF IDAHO, IN AND FOR THE COUNTY OF CANYON
                                                          CV14-22-01860
CINDY BEYERSDORF,                             ) Case No.
                                              )
                      Plaintiff,              ) SUMMONS
                                              ) Whitney, Thomas W.
v.                                            )
                                              )
TRANSAMERICA LIFE INSURANCE                   )
COMPANY,                                      )
                                              )
                      Defendant.
                                              )

NOTICE:  YOU HAVE BEEN SUED BY THE ABOVE-NAMED PLAINTIFF.
THE COURT MAY ENTER DEFAULT AGAINST YOU WITHOUT FURTHER
NOTICE UNLESS YOU RESPOND WITHIN 21 DAYS.     READ THE
INFORMATION BELOW.

TO: TRANSAMERICA LIFE INSURANCE COMPANY, Defendant above named:

       You are hereby notified that in order to defend this lawsuit, an appropriate written

response must be filed with the above-designated court within 21 days after service of this

Summons on you. If you fail to so respond, the Court may enter default against you as

demanded by the Plaintiff in the Complaint.




SUMMONS – 1
               A     copy of the Complaint is served with this Summons.                         If you wish        to seek the

       advice or representation by an attorney in this matter, you should do so promptly so that

       your written response,                      if any, may be ﬁled in time and other legal rights protected.
               An appropriate written response requires compliance with Rule                            10 (a) and other

       rules under the Idaho Rules of Civil Procedure and shall also include:

                1.          The title and number of this case.

               2.           If your response                is an Answer to the Complaint, it must contain admissions

       or denials    of the separate allegations of the Complaint and other defenses you may claim.

               3.           Your signature, mailing address and telephone number,                      o_r       the signature,


       mailing address and telephone number of your attorney.

               4.           Proof of mailing or delivery of a copy of your response to Plaintiff’s

       attorney, as designated above.

               To determine whether you must pay a ﬁling fee with your response, contact the

       Clerk of the above-named Court, Whose address and phone number are as follows:

                                                                 Clerk of the Court
                                                      CANYON COUNTY COURTHOUSE
                                                                11 15Albany Street
                                                                Caldwell, ID 83605
                                                                   208-454-7571
                                        3/8/2022 3:59 PM
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                                                                        Clerk of the Court
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    ﬂ"!ﬂ1£lﬁhﬂ“‘                                                         Deputy Clerk
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                                                                                                             County  of Canyon
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                                                                                                             I
                                                                                                               hereby certify that the foregoing instrument
                                                                                                             is a true and correct copy of the original as
                                                                                                             the same appears in this office.
                                                                                                             DATED

                                                                                                             4/1/2022 2:23:44 PM
       SUMMONS — 2                                                                                           CHRIS YAMAMO        ,   CI         of the District Court

                                                                                                             BY
                                                                                                                                Deputy
